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January 20, 2020 SX mn civ he ‘a

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New York, New York

 

an B. Backson” Date
The Honorable Amy Berman Jackson _ United States District Judge
United States District Court for ‘ah ceva
The District of Columbia =
333 Constitution Avenue, NW
Washington D.C. 20001 / q- CR- O (8

Dear Judge Jackson,

I am writing to respectfully yet fervently implore you not to send Roger Stone to prison
when he is sentenced before your Honor. I feel so strongly about this for a number of
reasons.

Let me begin by saying I stand by my testimony in your courtroom on November 7-8, 2019.
In fact, I stand by all of my testimony throughout the Mueller investigation and the pre-trial
conversations I had with the DC prosecution team. That being said, there was more that |
wish I had the opportunity to express had I not been limited by the questions asked of me.

Most notably was after Mr. Stone’s defense attorney asked if I had ever thought Mr. Stone
was going to steal or harm my dog Bianca. My answer was an emphatic “No.” At the time I
was hoping he would follow that question with another asking if I had ever personally felt
threatened by Mr. Stone. The answer would have been the same. | never in any way felt
that Stone himself posed a direct physical threat to me or to my dog. I chalked up his
bellicose tirades to “Stone being Stone.” All bark and no bite!

As | said in the courtroom, I met Mr. Stone in 2002 during my organization’s struggle to
repeal New York’s racist and Draconian Rockefeller Drug Laws. Stone was an invaluable
benefit to the movement. He played a critical role in propelling the movement forward
when he convinced his candidate to make the drug law a key issue in the Governor's race.
That campaign spent millions of dollars focusing on the effects of these harsh and
discriminatory laws. After the election Stone continued his commitment to the movement
for at least another year. The laws were changed in 2004 and many of those serving
ungodly life sentences were released and reunited with their families.

During those years of working to change the Rockefeller Drug Laws and other criminal
justice inequities, I visited countless prisoners behind bars and their families. The damage
done to the incarcerated is magnified tenfold by the damage done to their family members.

I know this damage firsthand. I am the son of a survivor of the U.S. prison system. My
father spent 10 years of his life behind bars before he married and had children. The
mental scars of those years never left my father’s soul. As kids, my brother, sister and I
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could feel the pain radiating from him as though it were our own. As adults, we all
struggled with addiction and/or alcoholism. It has taken a long time to heal those wounds
and live a sober life.

I was told that when fashioning a sentence, federal judges look to what is “sufficient, but
not greater than necessary” to meet the goals of sentencing. I understand that Roger Stone
has broken federal laws, but a prison sentence is beyond what is required in this case. It is
not justice. It is cruelty. Indeed, with all of his talent and knowledge, Mr. Stone would be an
ideal candidate for participation in an alternative to incarceration program that would
serve and benefit needy organizations or distressed communities.

Roger Stone certainly rubs a lot of people the wrong way, particularly those on the
receiving end of his wee hour lowbrow character attacks. Stone enjoys playing adolescent
mind games and pulling off juvenile stunts, gags and pranks. He shamelessly invents and
promotes outlandish and invidious conspiracy tales. But the bottom line is Mr. Stone, at his
core, is an insecure person who craves and recklessly pursues attention. Like Billy Wilder’s
tragic fictional character Norma Desmond, Stone is always at the ready for that “close-up.”
Prison is no remedy.

When I think of my father and others in prison, I think of these words in a letter written by
a tormented Oscar Wilde from his prison cell: “We who live in prison, and in whose lives
there is no event but sorrow, have to measure time by throbs of pain, and the record of
bitter moments.”

Thank you for your kind consideration of my letter.

Respectfully yours,

Randy Credico
